        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 1 of 18




                                                                   July 16, 2021
Hon. Paul A. Engelmayer
U.S. District Judge
Southern District of New York
40 Foley Square
New York, NY 10007
                                                    Re:     U.S. v. Ari Teman
                                                            19 Cr. 696 (PAE)

Dear Judge Engelmayer:

       Thank you for the opportunity to supplement the sentencing submission previously filed
on behalf of our client Ari Teman.

        By this submission, we hope to be able to share with your Honor another side of our
client. A young man who is generous to a fault and a person who has made a difference in this
world – in many very positive ways – and we trust that your Honor will factor his good works
into your sentencing equation, and help to dilute many of the impressions that your Honor may
have gleaned from the case.

      Your Honor has already received many letters that speak to Mr. Teman’s good deeds and
commitment to community service; however, in this submission we hope to be able to share
some additional insights and Mr. Teman’s own words with the Court.

Ari Teman’s Shaky Start: Childhood

       Ari Teman has described his childhood to counsel as both a blessing and challenging. He
describes his parents as great people who really care, not only about their own children, but
about their community, their people, and their countries – the United States and Israel. More than
just words, his parents showed up – they took action to right wrongs and they taught their two
children that standing up for what you believe is an important part of defining who you are as a
person. Ari and his parents were estranged for some time; but they have mended their fences. Ari
explains that he is very proud of his parents because they are the kind of people who help others
– not only when they were asked – but before anyone had to ask. He explained that if he has
done anything right in his life, it is to model their behavior in a way that would make them
proud.




                                                1
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 2 of 18




              Young Ari smiling for
              the camera in his Cub
              Scouts uniform.




         Ari explained that as a youngster, his Dad sent him to the Cub Scouts to learn to serve his
community and his country; but he did more than that – his Dad became a den leader and later a
pack leader. He worshiped his father, who worked incredibly long hours building technology for
banks. In the evenings and on the weekends, his Dad would prepare lessons and materials that
would help his community’s young men and women be more self-sufficient and better able to
serve others. Ari attended synagogue with his Dad on a regular basis and recalls watching his
father, who was a skilled carpenter, help to make repairs in the synagogue, often late as night,
after a long day’s work. As a youngster, he remembers trying to help his Dad build mounts for
the Torah scrolls, which are still in use decades later. As the congregation grew, Ari remembers
accompanying his Dad in the evenings, as he helped to build an extension, as the synagogue
expand to serve additional members of their extended community. He learned from his father,
who donated his technical and his woodworking skills to youth programs, charities and
synagogues. He recalls, even today, that as a young child, his father helped men with debilitating
illnesses like ALS capture a few more connected months of life through technology. It is with
great pride that he explained that his Dad always stood up for the underdog. Ari explained this
has taught both Ari and his sister the value of doing the right thing, even in the face of adversity.

        Ari is equally proud of his mother, Suzan, who he describes as an artist and a fighter. She
made sure that the kids had art classes, and she hovered near as Ari and his sister did their
homework; what he remembers most about his mother, however, is that she would fight for what
was right. If a teacher was abusive to students, Suzan Teman was the mom to come in and try to
help – sometimes the fighter and always the peacemaker. Ari posits that perhaps this was his
mother’s way of combating the demons that haunted her. As a child, Ari explained that his
mother lived with an abusive stepdad who beat her younger siblings and her mother. Ari says

                                                  2
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 3 of 18




that his mother’s mission in life has always been to never let anyone slide if they were hurting
others. Critically, cruelty – even in the form of sibling rivalry – was strictly prohibited in the
Teman family and in their extended circle of friends. He describes his mother as loving – but
tough. He offers, with pride, that he thinks his parents were great teachers and great role models
for him and his sister.

        Ari also shared that he was terribly abused by his peers in elementary and high school –
“relentlessly bullied” on the school bus, walking into school, in the classrooms, at lunch, recess,
and gym class. He described how the other kids would gang up on him in the bathroom and how
the older kids often hit him with broomsticks. Kids read essays about his big ears, his dandruff
and his goofy mannerisms while, as Ari recalls it, teachers sat silently. Even now these memories
bring him to tears as he recalls the whole class laughing at him. These memories remain vivid,
even today, and he relates how his teachers all looked the other way and let the other students
torment him.

       When we asked him to share his memories of this time for us he wrote:

               I developed stomach conditions from the anxiety that lasted for years. My
       bowels would churn so much from fear in the morning that I could not get
       off the toilet, and I remember once my Dad dragging me to the bus. Of
       course, this anxiety, and likely a dose of mild Aspergers, only attracted
       more bullying. School, and synagogue youth groups, were not a place to
       see friends, they were where I got beaten up, physically and emotionally.
       This went on through high school, where as a freshman, a senior pulled a
       knife on me and threatened to stick it up my ass (they were less culturally
       sensitive back then), and when I complained to the principal about my fear
       of being stabbed the boy was disciplined, but his friends spent the next
       year pushing me down flights of stairs and bullying me in the hallways.

       He continues by offering that there were actually some good parts of high school:

               I learned to play the drums and had a band. High School is when I started my
               website building business. I got internships and summer jobs, with the     help of
               my Dad’s friends, building intranets for various organizations. I became quite
               expert in web development and learned a great deal from some of the best in the
               business about project management and presentation.




                                                 3
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 4 of 18




 Ari with his parents, the rabbi, and
 his wife, when he awarded “Alumni
 of the Year”.




Brandeis University

        Ari explained that his life began to take a more positive turn once he started school at
Brandeis. He began to make friends and handle social situations with less clumsiness – as his
high school guidance counselors had predicted. At Brandeis he was able to build a small but
solid circle of close friends, many of whom remain his friends today. There, he played in bands
and the university orchestra. He learned that as he got older “being smart was not something for
which you were bullied, but respected.”

       While he was raised in the “modern orthodox” tradition at Brandeis, he began a spiritual
journey, becoming less traditionally religious at times, and more at others. Ultimately, he
explains that he became closer with “[his] people”.

          Ari’s father’s skills in woodworking and technology and his mother’s artistic talents,
which they had shared generously with their children, enhanced his college life. Ari explained
that he became close with the new Chabad Rabbi on campus, and helped the young congregation
build their first Chabad House. He recalls gathering other students and supplies at Home Depot
and finishing the basement so the Rabbi’s infant son (now an adult) would not breathe in the
fiberglass insulation when he played. Ari also helped to build the Chabad’s first online Shabbat
dinner system (something now taken for granted) and their annual Sukkah – which was described
by the Boston Globe as the largest in the Boston area. One of his contribution, one that his Rabbi
is still proud of – was something referred to as the “triple sinks”. To speed up the hand washing
ritual that precedes the breaking of bread, Ari designed a sink with three faucets that he welded
together in the art studio. Then, the 150 students who regularly attended the Chadad’s Shabbat
dinner could wash their hands before breaking bread much faster than just using the one kitchen
sink. Ari shared: “When I’m in Boston and stop by for a visit, the Rabbi tells students I’m ‘the
triple sink creator’ – it’s an odd form of (non) celebrity.”

        Ari is proud that his parents’ fighting spirit also came out in him. When one umbrella
religious organization at Brandeis wanted to shut down Chabad’s services, Ari explained that he
joined with a friend, who is now a constitutional law attorney in Chicago, and together they
fought to keep the campus open for all religious expression, helping to dispel rumors and quash

                                                4
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 5 of 18




misunderstandings. He also started a newspaper at Brandies called, “The Indi”, and made the
news in the local Boston Globe satellite paper for paying students for their work, and for using
an online platform to collect, organize and publish articles, something also taken for granted
today. When the school-funded paper tried to shut us down, he explained that he reached out to a
legend a few towns over, Professor Alan Dershowitz, and he and his “FIRE” organization made
clear to Brandeis that they should leave us alone. That, he shares, is how he knows “The
Professor”.

Ari Founds the Volunteer Organization JCorps

        After college, Ari founded JCorps. He came up with the idea in the middle of the night,
and the next day, he registered a domain, set up a website, and messaged a friend saying, “I have
a genius idea!” He laughed as he recalls his friend’s response – which was “No way!” But with
just $300 for the website and a bunch of tee shirts, he built what became a seven-city
international volunteer organization that has led thousands of young Jewish adults to volunteer in
children’s hospitals, senior centers, soup kitchens, animal shelters, parks, and more.




       Ari (in a black t-shirt)
       with a group of
       volunteers for the
       organization JCorps,
       founded by Ari.




        To build JCorps, Ari explained that he used the same technology he had taught himself
(with the help of his Dad) to manage volunteers, and track performance, in order to create what
he hoped would be the most reliable volunteer network. He explained further, that it was
important that if he used the name “JCorps”, the Jewish “Social Volunteering™” network, that
he could present to people as honest and reliable because. In describing the birth of JCorps, Ari
explained:

               Every volunteer would get a verification email with a section titled “Your
       Word,” which explained that JCorps “exists as a conversation”, that we
       only exist because we keep our word to the organizations we help that we
       will show up, and we can only do that if the volunteers keep their word to
       us. We took this seriously. Young adults who were called into work last-
       minute would send me emails, “Dear Mr. Teman…” to apologize for being
       unreliable.




                                                 5
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 6 of 18




       This, he explained, would “crack [him] up” – that anyone would call me “Mister” –
because, at the time, he was 24 and “Mr. Teman” had always been his father!




            Ari with children during
            a JCorps volunteering
            mission.




Looking back at JCorps, Ari says:

              This is and will likely remain the greatest thing I have ever done. Not
       because of the accolades, the awards, or the press, but because it
       showed me the power and thrill of igniting in someone the realization that
       everyone can make a difference in someone’s life, even through the
       smallest acts of kindness.

         Ari remembers a volunteer who wrote that she had been depressed because she felt that
men were nice to her only because of her looks – not a problem that he claims he could relate to!
She explained that she would never forget how during one volunteering event, she put a tray of
food down in front of an elderly woman at a soup kitchen, and had a conversation with her. She
recalls that the elderly woman cheered up, and this young volunteer felt meaningful as she had
not felt before in her life. Ari proudly shares that his young woman became a regular volunteer
and team leader, and she met her husband at a JCorps event. This, he explained, happened a lot –
that there are quite a few JCorps marriages, and a lot of JCorps babies.




                                                6
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 7 of 18




                                                        Photos from JCorps events, including an
                                                         event at a children’s hospital, with Ari,
                                                           JCorps volunteers, and community
                                                                         members.




JCorps Leads Ari to The White House And Beyond

       Ari cannot keep a straight face when he shares what he calls his “White House” story.
One day, during the early stages of his stand-up comedy career, he was waiting to meet Wally
Collins, a comedian and a one-time warm-up act for David Letterman. Ari hoped Collins would
give him some professional advice. Then, his phone rang. The caller ID said only “202”. He
answered – and the conversation went as follows:

Q:     Is this Ari Teman?
A:     Yes.
Q:     This is Danielle, from the White House.
A:     The White House?
Q:     Yes, “The White House.”
A:     Sure…“In Washington, D.C.”?

       And, as if she had heard the dumbest question of her life, she replied, “Yeah, that one.”
Ari explained that he had no time for the call because he was meeting a fellow comedian for
lunch. He had assumed that the call likely came from a bar called “The White House” who


                                                 7
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 8 of 18




wanted to offer him a law paying gig. In fact, as he later learned, he had accidentally blown off
THE White House.




                  Ari at the Comedy Club (left) and the Laugh Factory (right).

        Astonishingly, the White House called back shortly thereafter. The representative
explained to Ari: “The President and Mrs. Obama would like to congratulate you on your
founding JCorps. My team would like to get your input on young adult volunteering, but I am
calling because the President and First Lady would like to invite you to the White House
Hanukkah Party. Are you available?” Ari immediately replied that he would, of course, clear his
calendar. Ari made it to Washington D.C., where he was honored to meet President Obama and
shake his hand. He recalls with some embarrassment that he told a joke to President Obama, who
cracked up, and then reached over the rope that separated them and gave him a bear hug. Ari
fondly recalls eating potato latkes and mini-jelly donuts under a painting of Abe Lincoln that
night, and he felt truly honored.




                                                           Ari being greeted by President
                                                           Barack Obama at the White
                                                           House Hannukah Party.




                                                 8
         Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 9 of 18




       Ari also met Senator Joe
       Liberman at the White House
       Hannukah party. Ari was honored
       to discovery that Senator
       Liberman knew JCorps.




       JCorps expanded to Israel and Canada, as Team Leaders moved and wanted to replicate
JCorps’ good works in their new cities, to do as their tag line announced, “Make Friends. Make a
Difference.”




                    A newspaper article that discusses the founding of JCorps
                                and its activities in Jerusalem.

        Ari explains that the most-rewarding times of JCorps were the moments he spent with
kids in hospitals, teaching them how to draw a car, or whatever they wanted to draw. He
explained that the kids got to pick the colors, and the shapes, and for a moment during their
difficult days, they got to feel a bit of power, a bit of control, and for once it was them calling the
shots and not the nurses, doctors, or parents. Ari has been haunted much of his life with
depression, and he explains that those hours he spent in hospitals volunteering reminded him that
it was best to use his time to worry about others instead of himself.


                                                  9
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 10 of 18




        As Your Honor will see later in this submission, Ari continues his work as a JCorps
volunteer, now with the Surfside community. He hopes Your Honor will allow him to continue
that vital work.

12gurus Charity

     From running JCorps, Ari thought that many nonprofits could benefit from running more
like a business by tracking metrics, investing in improving skills, and investing in marketing. He
explained that he wanted to help other nonprofits run more like startup companies, and share best
practices, so he founded “NextGen: Charity”, which later morphed into “12gurus:
Charity”. Your Honor can see testimonials and video of the talks at: 12gurusCharity.com




                                                                   A screenshot of a video of a
                                                                   talk organized by Ari’s
                                                                   organization, 12gurus Charity.




        As part of this effort, Ari invited speakers from the top organizations, and best- selling
authors, to present 18-minute, TED-style talks, backed by media and design, rented a theater, and
filmed everything in four-camera HD. The director of filming for this project was the photo
editor of his Brandeis newspaper, who became one of his best friends, and has since become an
award-winning documentary filmmaker. Ari explains, with pride, that the video ended up on the
TED homepage as “Best of the Web”, and millions of people have watched their
content. Speakers included leaders from the following nonprofits: Water, DoSomething,
DressForSuccess, Michael J Fox Foundation, KIPP Schools, Acumen Fund, DonorsChoose, and
others. Audiences came from large foundations and organizations like the Bill & Melinda Gates
Foundation, UNICEF, Schusterman, Chabad, Big Brothers Big Sisters, and all the way to small,
upstart nonprofits.

         Ari hasn’t held a conference for a few years, but hopes to restart it once this dark chapter
of his life is behind him and he still keeps the videos online at 12gurusCharity.com so charities
can benefit, and people continue to watch and share them.

12gurus Charity Health Conferences

    A friend of Ari’s who was in medical school at NYU, loved the conferences, and wanted to
expand the concept to the health care sector. Ari and his friend launched a medical conference at

                                                 10
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 11 of 18




https://12gurusHealth.com. The head of NYU’s Clinical Medicine Department, and a professor
at UNC who was published over 400 times, became chairs of the initiative and speakers from the
Mayo Clinic, Harvard, Yale, Michigan, MIT, Columbia, IBM Watson participated. They gave
tickets to those who could not afford them, such as medical and nursing students, and they
refused to take money to put anyone on stage (although participants could, of course, rent a
booth in the trade show). Ari reports that participants said it was like nothing they had ever seen
or done before. I encourage Your Honor to watch the testimonial and other videos of the talks on
the website, as they speak for themselves.

       Though his future is currently in limbo, Ari has been planning another conference with
the UAE, and has lined up top physicians, researchers, and experts from Israel to share their
ideas with their new peace partners, including:




Ari’s Health Issues and His PTSD Related to Involuntary Confinement

       At the same time that he was running these conferences, and JCorps, and doing stand-up,
Ari became ill. At first, it seemed to be fatigue and he assumed it was his schedule or his diet.
But the fatigue became crippling and he was often unable to get out of bed. Beginning in
September 2009 and for six months, Ari was seen by a medical practice which turned out poorly
for Ari. He ended up in an involuntary psychiatric commitment which was deeply traumatizing
for him. In October 2012, after multiple doctors tried and failed to help Ari, he went to the
Cornell psychiatric ER. Since the impetus of Ari’s difficulties seemed to stem from his near total
inability to sleep, the doctors there determined that taking care of his sleep issues had to be
addressed first. Ari explained that the treatment he received at Weill Cornell was near
miraculous. The sleep studies showed that he wasn’t getting REM sleep due to a breathing

                                                11
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 12 of 18




disorder. A test at NYU’s sleep lab confirmed that he stopped breathing 27 times per hour and
got only 5-6% REM sleep, when the healthy range is 20-25%.

       Ari eventually learned that his sleeping problems were a function of a number of
problems with his airways. After considerable research, Ari found a highly rated specialized
surgeon in Thousand Oaks, CA. That surgeon performed an 11-hour surgery and rebuilt his
airways. Ari reports that he has since been able to sleep without sedatives.

        Ari reports that he continues to experience episodes from the crippling effects of PTSD –
a result of the abuse he suffered from the involuntary psychiatric commitment. Ari has been in
treatment for these issues, and while he is the first to recognize that he is not entirely cured, “by
any means – as your Honor has seen – with regrets”, he continues to work on his coping skills.
Ari confesses that he still “suffers tremendously” from this episode. Counsel shares this
information with the Court with the hope that it will help Your Honor understand the terror that
attends the notion of incarceration.

Hurricane Sandy and JCorps

        Ari recalled the moment he walked out of that Cornell ER, and the rain was pouring
down, because Hurricane Sandy was headed to New York. He shared that he curled into his bed
with the sedatives prescribed for him at the hospital, and when he woke up, there was no power
in New York City. He grabbed his laptop, reached out to Rabbi Levi, went to his home, camped
out on his floor and sent out a blast asking JCorps volunteers to sign up because help was
desperately needed. A day after leaving a psychiatric ER, Ari was energized by the needs of
others – he immediately began organizing volunteers, tracking tasks, and making sure they could
meet the needs of as many people as possible.

        Within a matter of hours, he had assembled 120 volunteers and organized them
throughout the downtown area. Ari explained that they helped over the next week carrying
water and food up hundreds of flights of stairs to elderly New Yorkers who were unable to
evacuate. JCorps ended up covering much of the subsidized housing from the West Village all
the way to the Lower East Side, where many older Jewish people were pleading for help. Ari
explained that by charging cell phones in vehicles, he, the local rabbis, and other community
leaders were able to communicate about which buildings had people in trouble.

       Volunteers would bike or walk because roads downtown were blocked, lights were not
functioning, and of course there was flooding from the storm. Other times they would hop into
someone’s car to get close enough to the next spot to walk. Somehow it worked out. Because the
group of JCorps volunteers were nimble, they would sometimes beat the National Guard to a
spot and distribute water and food before the National Guard arrived. Ari ran the entire operation
from his laptop and cellphone wherever he could find electrical power. Ari explains that this was
one of the greatest challenges and experiences of his life. After living through debilitating,
torturous illness, he felt useful again.

Ari’s Continued Struggles



                                                 12
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 13 of 18




        Ari could not work for months while he was recovering from surgery. He still needed to
find a way to pay rent, and he did so by subletting his own apartment on Airbnb, while he slept
on various friends’ sofas. It took Ari a long time to completely recover from his surgery. He
notably had issues with his short-term memory for a long time. After a dispute with Airbnb, Ari
could not get a lease in New York and he was homeless for quite some time, while he was still
struggling mentally. Ari was able to enter into some short-term sublets, temporary rooms and
low-grade hotels. Since he was not yet working anything near full time, he often rented a desk at
a the co-working space WeWork, and slept under his rented desk.

       Through his continued struggles, Ari nevertheless worked on several business ventures.
One of Ari’s most recent ventures involves the use of UVC light to kill viruses like COVID-19,
which he hopes to be able to commercialize.




        Ari during an interview with the
        Today show, talking about a
        business venture.




Ari’s Struggles in Isolation

        Ari has gone through struggles in his life. But these past 15 months have been the most
difficult in his life. He has been isolated 20 hours per day for much of the last 15 months. His
mental health is as fragile as it has been, and he knows he puts an unfair burden on those close to
him, including his girlfriend. He is constantly anxious, and still struggles with sleep deprivation.
Ari has a long history of health problems, as discussed above, but as he says, his arrest in this
case has “thrown [him] completely off kilter.”




                                                13
       Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 14 of 18




Ari’s main companion for the past 15 months
has been a small Australian Shepherd. As he
tells it: “she looks at me as if I need to get my
life together, and she is not wrong.”




Ari has tried to soothe his anxiety
through art during his isolation on
home confinement. These are some of
the many canvases he has painted.




                                                    14
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 15 of 18




Ari’s Jewish Service and the Jewish Community

        Jewish faith and the Jewish community is a big part of Ari's beliefs, culture and identity.
Ari’s parents are observant, as are many of his friends. Ari himself still attends Jewish services
when his curfew allows, and he keeps kosher. He maintains very strong ties with the Jewish
community. As an example, when Israel was being attacked by rockets years ago, Ari flew to
Israel and brought along his friend Danny Cohen, a Comedy Cellar comedian, and they
performed for people in bomb shelters throughout Israel.




      Ari performing stand-up comedy
      at an Iron Dome command base in
      Israel.




       Ari has maintained a very close relationship with the Chabad Lubavitch movement, as
Rabbi Lipskar’s letter (submitted earlier) related. Indeed, Ari was invited to speak at the

                                                 15
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 16 of 18




International Conference, Kinnus HaShluchim, on how to get young adults involved in
volunteering. Ari was also invited, on multiple occasions, to the Chabad’s annual banquet. Ari
has spoken, performed, and coached at hundreds synagogues, Chabad Houses, Jewish day
schools, community centers, and AISH centers.


Ari’s Volunteering With The Recovery Efforts of The Surfside Condo Collapse in Miami

        When the tragedy of the collapse of a condo building in Surfside happened, Ari rushed
immediately to help. Amid the chaos, organizers were struggling to organize volunteers, and
were overwhelmed with emails, calls, and direct messages. Ari used his experience with JCorps
to set up VolunteerSurfside.org and helped organizations direct requests there, and find skilled
volunteers as needed.

        For example, it was Ari’s database that found the chef who prepared the nighttime meals
for the first responders. As a further example, Ari introduced the United Hatzalah of Israel
psychotrauma team to the Miami Dade Fire Department, and walked the Fire liaison to meet the
IDF interview team. Ari brought networking cables, chargers, batteries and hubs to power
cellular telephones, provide cellular signal and WiFi internet. Ari also came up with the idea of
identifying missing people using the data from Amazon on packages they would send to the
condo, which he understands law enforcement was able to use.

        Ari reports that the most rewarding, yet incredibly difficult thing he was asked to do was
to help interview families and survivors to collect clues that might help recover a relative, or to
share the good news that someone was not in the building at the time of the collapse. Ari
received a letter from the mayor of Bal Harbour village for his efforts, which reads:




                                                16
        Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 17 of 18




       As Ari got more involved, he became a liaison between the different organizations, and
ended up helping the survivors and families with all sorts of needs, from helping a father track
down a trauma therapist so his daughter would eat, to getting food and supplies for the soldiers
and volunteers, to getting a tent over the security checkpoint so families would not get rained on
while the police checked them in, to a myriad of other random tasks.

        Ari was asked to interact with Chabad, who was running the largest synagogue in the
area, “The Shul”. Ari was able to help them get a table and get set up for families to walk over
and get help. Because he had to be home by a certain time, Ari continued his work through the
night on WhatsApp – helping families and other organizations interface with them and with
brokers to help find replacement homes, funding and supplies. Ari designed a form for the
survivors to fill out listing any immediate needs – from housing to pet supplies, to therapy,
because, again, he saw the system was a mess, and that organizing a database is something that
he is quite expert at doing.

       Even the relief effort at Surfside has come to rely on Ari and his final thought to your
Honor is not about himself – but about others:

                                                17
Case 1:19-cr-00696-PAE Document 242 Filed 07/16/21 Page 18 of 18




     I really do hope Your Honor will allow me to remain free to help them. Many of
     the organizations have already left Surfside, and the news media are on to the next
     big thing. These people still do not have homes, funding, even equipment to do
     their jobs, and it will take months to get them back on their feet, and they will also
     need consistent voices to speak with to work through the trauma -- something I
     have known and experienced in a different form, firsthand. I have helped at
     Surfside and will continue to help if your Honor will allow it. Might I suggest a
     sentence of community service – I could do so much good at Surfside, where they
     seriously need an organizational person. Doesn’t that make more sense than
     having me waste away at a federal prison facility. I hope that your Honor will
     consider the needs of these people – and my need to help others.




                                      18
